            Case 18-50248-rlj13 Doc 7 Filed 09/01/18                                Entered 09/01/18 12:52:28                    Page 1 of 2

Information to identify the case:
Debtor 1                 Nathan Ryan Sawyer                                                     Social Security number or ITIN    xxx−xx−0532

                         First Name    Middle Name   Last Name                                  EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name    Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court         Northern District of Texas
                                                                                                Date case filed for chapter 13 9/1/18
Case number:          18−50248−rlj13



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                               About Debtor 1:                                              About Debtor 2:
1. Debtor's full name                          Nathan Ryan Sawyer

2. All other names used in the
   last 8 years
                                               2504 42nd St
3. Address                                     Lubbock, TX 79413−3218
                                               US
                                               Seth Crosland                                                Contact phone 972−591−6919
                                               Crosland Law Firm, PLLC                                      Email: seth@croslandlawfirm.com
4. Debtor's  attorney
   Name and address
                                               1848 NORWOOD PLAZA
                                               SUITE 205B
                                               HURST, TX 76054

5. Bankruptcy trustee                          Robert B. Wilson                                             Contact phone (806) 748−1980
     Name and address                          1407 Buddy Holly Ave                                         Email: cmecf@ch13−12westtex.org
                                               Lubbock, TX 79401

6. Bankruptcy clerk's office                                                                                Office hours: Mon.−Fri. 8:30−4:30
     Documents in this case may be filed       306 Federal Building                                         Contact phone 806−472−5000
     at this address.                          1205 Texas Avenue                                            Date: 9/4/18
     You may inspect all records filed in      Lubbock, TX 79401
     this case at this office or online at
      www.pacer.gov.
                                                                                                                  For more information, see page 2




Official Form 309I                                      Notice of Chapter 13 Bankruptcy Case                                              page 1
           Case 18-50248-rlj13 Doc 7 Filed 09/01/18                                Entered 09/01/18 12:52:28                         Page 2 of 2
Debtor Nathan Ryan Sawyer                                                                                                          Case number 18−50248−rlj13

7. Meeting of creditors
    Debtors must attend the meeting to     October 3, 2018 at 10:00 AM                                       Location:
    be questioned under oath. In a joint                                                                     Federal Building, 1205 Texas Ave., Room 310,
    case, both spouses must attend.                                                                          Lubbock, TX 79401
    Creditors may attend, but are not      The meeting may be continued or adjourned to a later
    required to do so.                     date. If so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: ____________
    The bankruptcy clerk's office must     dischargeability of certain debts:
    receive these documents and any
    required filing fee by the following
    deadlines.                             You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 11/13/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 2/28/19
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has not filed a plan as of this date. A copy of the plan and a notice of the hearing on confirmation will
                                           be sent separately.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                           a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                           under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                           debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                           discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                           bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                           of any of their debts under 11 U.S.C. § 1328(f), you must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
